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                                              September 22, 2020

Via Electronic Filing
The Honorable Theodore D. Chuang
United States District Court
 for the District of Maryland
6500 Cherrywood Lane, Suite 245A
Greenbelt, Maryland 20770

       Re:     United States of America v. William King, et al.
               Case No.: 1:05-cr-00203-TDC

Dear Judge Chuang:

        I represent William King in the above-captioned case for the purpose of filing a
Motion for Compassionate Release seeking relief from a 3,781-month term of imprisonment
(315 years and one month) reluctantly imposed by Judge Motz in 2005. Toward that end, I
recently reached out to the United States Probation Office and requested a copy of Mr. King’s
Presentence Report (“PSR”). I was informed that the Probation Office has a copy of the PSR
but they cannot release it to me without your approval.

       The PSR contains important information relevant to the preparation of the Motion for
Compassionate Release and I respectfully request that you allow the Probation Office to
provided the report to me.

        As Your Honor will recall, counsel for Mr. King’s co-defendant, Antonio Murray,
recently requested the same relief, which this Court granted.

                                              Very truly yours,

                                                      /s/

                                              Steven H. Levin

SHL:tlm

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GRANTED                                               DENIED
